









Petition for Writ of Mandamus Denied and Memorandum Opinion filed June
29, 2004









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed June 29, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00170-CV

____________

&nbsp;

IN RE JOHN WORLDPEACE, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

Relator John Worldpeace filed a
petition for writ of mandamus in this court.&nbsp;
See Tex. Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2004); see
also Tex. R. App. P. 52.&nbsp; In his petition, relator asserts the
Honorable James R. Fry, who was assigned by the Texas Supreme Court to preside
over a disciplinary proceeding against relator, abused his discretion by making
relator=s disbarment effective before the
expiration of the trial court=s plenary power over the judgment.[1]








Relator has not established he is entitled to extraordinary
relief.&nbsp; See Tex. R. App. P. 52.3, 52.7; Walker
v. Packer, 827 S.W.2d 833, 839-40 (Tex. 1992).&nbsp; Accordingly, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed June 29, 2004.

Panel consists of
Chief Justice Hedges and Justices Frost and Guzman. 











[1]&nbsp; The underlying
action is styled Commission for Lawyer Discipline v. John Worldpeace,
filed under cause number 2002-42081, in the 269th Judicial District Court of
Harris County, Texas.&nbsp; Relator=s appeal of his disbarment judgment is currently
pending under this court=s appeal number 14-03-01339-CV.&nbsp; 







